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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


                                                     §
      SEMCON IP INC.,                                §
                                                     §     Case No. 2:16-cv-437-JRG-RSP
                                   Plaintiff,
                                                     §     LEAD CASE
                    v.                               §
                                                     §
      HUAWEI DEVICE USA INC., ET AL.,                §     JURY TRIAL DEMANDED
                                   Defendants.       §
                                                     §
                                                     §
                                                     §


          ORDER TO STAY ALL DEADLINES PENDING RESOLUTION OF SEMCON’S
  .          MOTION FOR RECONSIDERATION OF GRANT OF DEFENDANT
             STMICROELECTRONICS, INC.’S MOTION TO STRIKE (DKT. 321)

             Before the Court is the Motion to Stay All Deadlines Pending Resolution of Semcon’s

      Motion for Reconsideration of Grant of Defendant STMicroelectronics, Inc.’s Motion to Strike

      (Dkt. 321) filed by Semcon IP Inc. For good cause, the Court determines that said motion is

      GRANTED.

             It is therefore ORDERED that all pending deadlines with respect to STMicroelectronics,

      Inc. (Civ. A. No. 2:16-cv-00439) are stayed pending resolution of Semcon’s motion for

      reconsideration of grant of Defendant STMicroelectronics, Inc.’s Motion to Strike (Dkt. 321).
             SIGNED this 3rd day of January, 2012.
            SIGNED this 24th day of October, 2017.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE
